       U.S. DISTRICT COURT FOR THE NORTHERN DISTRICT OF ILLINOIS
                       ATTORNEY APPEARANCE FORM

NOTE: In order to appear before this Court an attorney must either be a member in good
standing of this Court¶s general bar or be granted leave to appear pro hac vice as provided for
by Local Rules 83.12 through 83.14.

In the Matter of                                                           Case Number: 1:11-cv-07889
In re NCAA Student-Athlete Name Likeness Licensing
Litigation




AN APPEARANCE IS HEREBY FILED BY THE UNDERSIGNED AS ATTORNEY FOR:
Big Ten Network, as non-party intervenor




NAME (Type or print)
Debbie L. Berman
SIGNATURE (Use electronic signature if the appearance form is filed electronically)
           s/ Debbie Berman
FIRM
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ID NUMBER (SEE ITEM 3 IN INSTRUCTIONS)                  TELEPHONE NUMBER
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ARE YOU ACTING AS LEAD COUNSEL IN THIS CASE?                         YES              NO    ✔

ARE YOU ACTING AS LOCAL COUNSEL IN THIS CASE?                        YES   ✔          NO


ARE YOU A MEMBER OF THIS COURT¶S TRIAL BAR?                          YES   ✔          NO


IF THIS CASE REACHES TRIAL, WILL YOU ACT AS THE TRIAL ATTORNEY?                       YES   ✔   NO


IF THIS IS A CRIMINAL CASE, CHECK THE BOX BELOW THAT DESCRIBES YOUR STATUS.

RETAINED COUNSEL                  APPOINTED COUNSEL
